                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
SK/RCH/EMR/PP/MD                                    271 Cadman Plaza East
F. #2019R00927                                      Brooklyn, New York 11201


                                                    July 14, 2022

By ECF

The Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Genaro Garcia Luna
                      Criminal Docket No. 19-576 (BMC)

Dear Judge Cogan:

               The government respectfully submits this written status update to the Court in
the above-captioned matter, in advance of the upcoming status conference scheduled for July 15,
2022. At the conference, the government will request that an order of excludable delay is
appropriate based on the Court’s previous complex case designation in this matter, the pendency
of the government’s pretrial motions, and the need for defense counsel to prepare for trial, which
is scheduled for October 24, 2022.

               The government respectfully writes to update the Court on the following
issues:

           o The government has produced the vast majority of the discoverable material
             currently in its possession. To the extent that the government receives additional
             discoverable materials, the government will continue to make productions to the
             defense on a rolling basis.

           o The government has produced material pursuant to 18 USC § 3500 for 15
             potential law enforcement witnesses and two potential cooperating witnesses.
             The government will continue its rolling production of § 3500 material in
             advance of trial and will provide all such material by the Court’s deadline of
             September 23, 2022.
         o Trial in this case is scheduled for October 24, 2022. At the upcoming status
           conference, the government seeks to set a schedule for the submission of a
           jointly proposed juror questionnaire and the expected timing of jury selection.


                                               Respectfully submitted,

                                               BREON PEACE
                                               United States Attorney

                                        By:      /s/
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                                               Ryan C. Harris
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cc:   Cesar de Castro, Esq.
      Clerk of the Court (BMC) (by ECF)




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